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             APPENDIX B
           TO DEFENDANTS’
             TRIAL BRIEF
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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                               CHARLESTON DIVISION

IN RE:      ETHICON INC.
            PELVIC REPAIR SYSTEMS
            PRODUCT LIABILITY LITIGATION                        MDL No. 2327
______________________________________________________________________________

THIS DOCUMENT RELATES TO:

Cases Identified in the Exhibit
Attached Hereto

                        MEMORANDUM OPINION AND ORDER
                        (Daubert Motion re: Jerry Blaivas, M.D.)


      Pending before the court is the Motion to Exclude Certain General Opinions of

Jerry Blaivas, M.D. [ECF No. 2038] filed by defendants Johnson & Johnson and

Ethicon, Inc. (collectively “Ethicon”). The Motion is now ripe for consideration because

briefing is complete.

      I.     Background

      This case resides in one of seven MDLs assigned to me by the Judicial Panel

on Multidistrict Litigation concerning the use of transvaginal surgical mesh to treat

pelvic organ prolapse (“POP”) and stress urinary incontinence (“SUI”). In the seven

MDLs, there are more than 75,000 cases currently pending, approximately 30,000 of

which are in this MDL.

      In this MDL, the court’s tasks include “resolv[ing] pretrial issues in a timely

and expeditious manner” and “resolv[ing] important evidentiary disputes.” Barbara

J. Rothstein & Catherine R. Borden, Fed. Judicial Ctr., Managing Multidistrict
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Litigation in Products Liability Cases 3 (2011). To handle motions to exclude or to

limit expert testimony pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993), the court developed a specific procedure. In Pretrial Order

(“PTO”) No. 217, the court instructed the parties to file only one Daubert motion per

challenged expert, to file each motion in the main MDL—as opposed to the individual

member cases—and to identify which cases would be affected by the motion. PTO No.

217, at 4.1

       II.     Preliminary Matters

       Before plunging into the heart of the Motion, a few preliminary matters need

to be addressed.

       I am compelled to comment on the parties’ misuse of my previous Daubert

rulings on several of the experts offered in this case. See generally Sanchez v. Bos.

Sci. Corp., No. 2:12-cv-05762, 2014 WL 4851989 (S.D. W. Va. Sept. 29, 2014); Tyree

v. Bos. Sci. Corp., 54 F. Supp. 3d 501 (S.D. W. Va. 2014); Eghnayem v. Bos. Sci. Corp.,

57 F. Supp. 3d 658 (S.D. W. Va. 2014). The parties have, for the most part, structured

their Daubert arguments as a response to these prior rulings, rather than an

autonomous challenge to or defense of expert testimony based on its reliability and

relevance. In other words, the parties have comparatively examined expert testimony

and have largely overlooked Daubert’s core considerations for assessing expert




1 Ethicon identified the Wave 1 cases affected by this Motion in its attached Exhibit A [ECF No. 2038-
1], which the court has attached to this Memorandum Opinion and Order. At the time of transfer or
remand, the parties will be required to designate relevant pleadings from MDL 2327, including the
motion, supporting memorandum, response, reply, and exhibits referenced herein.

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testimony. Although I recognize the tendency of my prior evidentiary determinations

to influence subsequent motions practice, counsels’ expectations that I align with

these previous rulings when faced with a different record are misplaced, especially

when an expert has issued new reports and given additional deposition testimony.

      Mindful of my role as gatekeeper for the admission of expert testimony, as well

as my duty to “respect[ ] the individuality” of each MDL case, see In re

Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1231 (9th Cir. 2006), I refuse

to credit Daubert arguments that simply react to the court’s rulings in Sanchez and

its progeny. Indeed, I feel bound by these earlier cases only to the extent that the

expert testimony and Daubert objections presented to the court then are identical to

those presented now. Otherwise, I assess the parties’ Daubert arguments anew. That

is, in light of the particular expert testimony and objections currently before me, I

assess “whether the reasoning or methodology underlying the testimony is

scientifically valid” and “whether that reasoning or methodology properly can be

applied to the facts in issue.” Daubert, 509 U.S. at 592–93. Any departure from

Sanchez, Eghnayem, or Tyree does not constitute a “reversal” of these decisions and

is instead the expected result of the parties’ submission of updated expert reports and

new objections to the expert testimony contained therein.

      Finally, I have attempted to resolve all possible disputes before transfer or

remand, including those related to the admissibility of expert testimony pursuant to

Daubert. Nevertheless, in some instances I face Daubert challenges where my

interest in accuracy counsels reserving ruling until the reliability of the expert



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testimony may be evaluated at trial. At trial, the expert testimony will be tested by

precise questions asked and answered. The alternative of live Daubert hearings is

impossible before transfer or remand because of the numerosity of such motions in

these seven related MDLs. As these MDLs have grown and the expert testimony has

multiplied, I have become convinced that the critical gatekeeping function permitting

or denying expert testimony on decisive issues in these cases is best made with a live

expert on the witness stand subject to vigorous examination.

      In the course of examining a multitude of these very similar cases involving

the same fields of expertise, I have faced irreconcilably divergent expert testimony

offered by witnesses with impeccable credentials, suggesting, to me, an unreasonable

risk of unreliability. The danger—and to my jaded eye, the near certainty—of the

admission of “junk science” looms large in this mass litigation.

      The parties regularly present out-of-context statements, after-the-fact

rationalizations of expert testimony, and incomplete deposition transcripts. This,

combined with the above-described practice of recycling expert testimony, objections,

and the court’s prior rulings, creates the perfect storm of obfuscation. Where further

clarity is necessary, I believe it can only be achieved through live witness testimony—

not briefing—I will therefore reserve ruling until expert testimony can be evaluated

firsthand.

      III.   Legal Standard

      By now, the parties should be intimately familiar with Rule 702 of the Federal

Rules of Evidence and Daubert, so the court will not linger for long on these



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standards.

      Expert testimony is admissible if the expert is qualified and if his or her expert

testimony is reliable and relevant. Fed. R. Evid. 702; see also Daubert, 509 U.S. at

597. An expert may be qualified to offer expert testimony based on his or her

“knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. Reliability

may turn on the consideration of several factors:

             (1) whether a theory or technique can be or has been tested;
             (2) whether it has been subjected to peer review and
             publication; (3) whether a technique has a high known or
             potential rate of error and whether there are standards
             controlling its operation; and (4) whether the theory or
             technique enjoys general acceptance within a relevant
             scientific community.

Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001) (citing Daubert,

509 U.S. at 592–94). But these factors are neither necessary to nor determinative of

reliability in all cases; the inquiry is flexible and puts “principles and methodology”

above conclusions and outcomes. Daubert, 509 U.S. at 595; see also Kumho Tire Co.

v. Carmichael, 525 U.S. 137, 141, 150 (1999). Finally, and simply, relevance turns on

whether the expert testimony relates to any issues in the case. See, e.g., Daubert, 509

U.S. at 591–92 (discussing relevance and helpfulness).

      At bottom, the court has broad discretion to determine whether expert

testimony should be admitted or excluded. Cooper, 259 F.3d at 200.

      IV.    Discussion

      Dr. Blavais is a urologist with extensive experience treating patients with

complications related to mesh sling surgery.



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                  a. Alternative Design and Products

         First, Ethicon argues that Dr. Blaivas should not be permitted to testify that

alternative procedures are safer than Ethicon’s mesh products. Expert testimony on

this subject, Ethicon claims, is not relevant. The relevance of this expert testimony is

better decided on a case-by-case basis. Accordingly, I RESERVE ruling on this matter

until trial.

         Ethicon also objects to the reliability of Dr. Blaivas’s expert testimony about

whether alternative procedures are safer than Ethicon’s mesh products. In my view,

the reliability of this expert testimony is heavily dependent on Dr. Blaivas’s clinical

experiences.2

         In the abstract, experience—on its own or accompanied by little else—is a

reliable basis for expert testimony. See Kumho, 526 U.S. at 156. But the reliability

inquiry must probe into the relationship between the experience and the expert

testimony:

                  If the witness is relying solely or primarily on experience, then
                  the witness must explain how that experience leads to the
                  conclusion reached, why that experience is a sufficient basis for
                  the opinion, and how that experience is reliably applied to the
                  facts.

Fed. R. Evid. 702 advisory committee’s note to 2000 amendment. Here, the court does

not have enough information to judge the reliability or relevance of Dr. Blaivas’s

particular experience.




2 This is especially so because, while Dr. Blaivas reviewed medical literature, he has characterized the medical
literature concerning the safety of mesh devices as “poor.”

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      In this specific context, I am without sufficient information at this time to draw

the fine line between reliable and unreliable expert testimony based primarily on an

expert’s clinical experiences. Accordingly, I RESERVE ruling until further testimony

may be offered and evaluated firsthand at trial.

      Second, Ethicon claims Dr. Blaivas is not qualified to offer expert testimony

about alternative designs (e.g., mesh with larger pore size or less weight). I do not

need to opine on his qualifications because this aspect of his testimony is clearly

unreliable. In an effort to show this expert testimony is reliable, the plaintiffs offered

up an article entitled Safety Considerations for Synthetic Sling Surgery, which Dr.

Blaivas co-authored, and noted Dr. Blaivas’s reliance on the sources cited. But those

sources concern hernia repair mesh and were insufficient to allow, as the authors put

it, “any meaningful conclusions.” Resp. Ex. 2, at 12 [ECF No. 2176-2]. Yet Dr. Blaivas

never explains how this uncertainty expressed in a 2015 article—which contradicts

the expert testimony he intends to offer—has been dispelled. Nor does Dr. Blaivas

explain the import of the medical literature he cites to support his expert testimony.

Upon review of the record, I am not satisfied that Dr. Blaivas’s opinion is reliable.

Ethicon’s Motion is GRANTED on this point.

      Third, Ethicon challenges the reliability of Dr. Blaivas’s expert testimony

about mechanical-cut and laser-cut mesh. In his report, Dr. Blaivas cites to internal

Ethicon documents to support this opinion, which offer some support. But like the

testimony above, the lynchpin of Dr. Elliott’s testimony seems to be his experience.

And as noted above, I am without information sufficient to assess whether this is a



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reliable foundation. So I RESERVE ruling until further testimony may be offered and

evaluated firsthand at trial.

      Fourth, Ethicon challenges the reliability of Dr. Blaivas’s expert testimony

about the implantation approach and that an alternative implantation approach

would be safer. The plaintiffs focus on what they perceive as the shortcomings in

Ethicon’s argument, and they fail to explain why this expert testimony is reliable.

Given no reason to find this expert testimony reliable, Ethicon’s Motion is GRANTED

on this point.

      Fifth, Ethicon challenges the reliability of Dr. Blaivas’s expert testimony about

the size of the surgical trocars and the implantation technique. Neither article cited

in support of this expert testimony by Dr. Blaivas supports this position, and Dr.

Blaivas does not explain why these articles support his position. The same is true for

the article referenced by the plaintiffs in response to Ethicon’s argument—an article

cited in connection with a different proposition in Dr. Blaivas’s report. Accordingly,

Ethicon’s Motion is GRANTED on this point.

      Sixth, Ethicon challenges the reliability of Dr. Blaivas’s expert testimony about

mesh length. The plaintiffs do not present any argument discussing why it is

admissible (i.e., reliable). I will not make arguments for the plaintiffs; therefore,

Ethicon’s Motion is GRANTED on this point.

             b. Warnings

      Ethicon claims Dr. Blaivas is not qualified to offer expert testimony about

product warnings, which includes expert testimony about the adequacy of the



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relevant Instructions for Use (“IFU”). According to Ethicon, Dr. Blaivas is not an

expert in the development of warning labels and thus is not qualified to offer expert

testimony about warnings. Dr. Blaivas is not an expert in the development of warning

labels. While an expert who is a urologist may testify about the specific risks of

implanting mesh and whether those risks appeared on the relevant IFU, the same

expert must possess additional expertise to offer expert testimony about what

information should or should not be included in an IFU. Wise v. C. R. Bard, Inc., No.

2:12-cv-1378, 2015 WL 521202, at *14 (S.D. W. Va. Feb. 7, 2015). Dr. Blaivas does not

possess the additional expertise to offer expert testimony about what an IFU should

or should not include. Accordingly, Dr. Blaivas’s expert testimony about these

matters is EXCLUDED.

             c. Safety and Efficacy

      Ethicon challenges the reliability of Dr. Blaivas’s expert testimony about safety

and efficacy and complication rates by pointing out numerous perceived flaws in the

foundation of Dr. Blaivas’s expert testimony. Two primary problems render this

expert testimony unreliable. First, Dr. Blaivas continues to rely quite heavily on

complications rates this court has excluded time and again. E.g., Huskey v. Ethicon,

Inc., 29 F. Supp. 3d 691, 721 (S.D. W. Va. 2014). In Huskey, I excluded this expert

testimony because “Dr. Blaivas did not explain his methodology and admitted that it

was impossible to calculate an accurate complication rate.” Id. He has not remedied

these shortcomings. Second, Dr. Blaivas does not provide a reasonable explanation

for his disagreement with guidelines that he helped author and that conclude mesh



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products are suitable surgical options. See, e.g., Bethune v. Bos. Sci. Corp., No. 2:13-

cv-6199, 2016 WL 2983697, at *4 (S.D. W. Va. May 20, 2016) (noting an expert’s

methodology “may be flawed if he does not provide an adequate explanation for why

he disagrees with [contrary] studies”). Accordingly, the expert testimony is

EXCLUDED.

             d. Properties

      Ethicon asks the court to exclude Dr. Blaivas’s biomaterials opinions related

to mesh degradation, shrinkage, and other deformations because Dr. Blaivas is

unqualified and his opinions are unreliable. The plaintiffs make no response to the

specific reliability challenge and I decline to raise counterarguments on their behalf.

Ethicon’s Motion on this matter is GRANTED and Dr. Blaivas’s opinions on

biomaterials are EXCLUDED. I thus find it unnecessary to address his qualifications.

             e. Complications

      Ethicon seeks to exclude Dr. Blaivas’s testimony regarding cancer and death

complications that no plaintiff in these cases has suffered. Evidence of complications

that a plaintiff did not experience is irrelevant and lacking in probative value.

Accordingly, to the extent that Dr. Blaivas seeks to opine on complications that no

plaintiff in this wave of cases has suffered, such testimony is EXCLUDED.

      Ethicon also challenges Dr. Blaivas’s use of the terms “chronic mesh pain

syndrome,” “mesh cripples,” and “Meshology” because these terms are inflammatory

and prejudicial. The plaintiffs have sufficiently demonstrated that the term “chronic

mesh pain syndrome” is used in scientific literature, as Dr. Blaivas cites to a chapter



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entitled “Pain Complications of Mesh Surgery” in the academic textbook

Complications of Female Incontinence and Pelvic Reconstructive Surgery . Ethicon’s

Motion regarding Dr. Blaivas’s use of the term “chronic mesh pain syndrome” is

DENIED.      I agree that terms such as “mesh cripples” and “Meshology” are

inflammatory and unduly prejudicial, and their use in testimony is EXCLUDED.

             f. Product Testing

      Ethicon claims Dr. Blaivas is not qualified to offer opinions about product

testing Ethicon should have conducted and about what such testing would have

revealed. As I have found before, “[t]here is no indication in the record that Dr.

Blaivas has any experience or knowledge on the appropriate testing a medical device

manufacturer should undertake.” Huskey, 29 F. Supp. 3d at 723. Because Dr. Blaivas

is not qualified to offer expert testimony of this sort, his expert testimony on this

matter is EXCLUDED.

             g. Industry Bias and Collusion

      In his reports, Dr. Blaivas criticizes the medical literature about mesh

products, claiming some studies are biased. If Ethicon seeks to challenge Dr. Blaivas’s

allegations of bias as to these studies, it may do so on cross-examination. See Tyree,

54 F. Supp. 3d at 559. To the extent Ethicon seeks to exclude these matters, its Motion

is DENIED.

      Dr. Blaivas also offers his opinion that Ethicon colluded with other

manufacturers to influence reimbursement. Ethicon asks the court to exclude this

opinion. The plaintiffs do not offer any response. Accordingly, Ethicon’s Motion is



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GRATNED as to this matter.

      V.      Recurring Issues

      Many of the Daubert motions filed in this MDL raise the same or similar

objections.

      One particular issue has been a staple in this litigation, so I find it best to

discuss it in connection with every expert. A number of the Daubert motions seek to

exclude FDA testimony and other regulatory or industry standards testimony. To the

extent this Motion raises these issues it is GRANTED in part and RESERVED in

part as described below.

      I have repeatedly excluded evidence regarding the FDA’s section 510(k)

clearance process in these MDLs, and will continue to do so in these cases, a position

that has been affirmed by the Fourth Circuit. In re C. R. Bard, Inc., 81 F.3d 913,

921–23 (4th Cir. 2016) (upholding the determination that the probative value of

evidence related to section 510(k) was substantially outweighed by its possible

prejudicial impact under Rule 403). Because the section 510(k) clearance process does

not speak directly to safety and efficacy, it is of negligible probative value. See In re

C. R. Bard, 81 F.3d at 920 (“[T]he clear weight of persuasive and controlling authority

favors a finding that the 510(k) procedure is of little or no evidentiary value.”).

Delving into complex and lengthy testimony about regulatory compliance could

inflate the perceived importance of compliance and lead jurors “to erroneously

conclude that regulatory compliance proved safety.” Id. at 922. Accordingly, expert

testimony related to the section 510(k) process, including subsequent enforcement



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actions and discussion of the information Ethicon did or did not submit in its section

510(k) application, is EXCLUDED. For the same reasons, opinions about Ethicon’s

compliance with or violation of the FDA’s labeling and adverse event reporting

regulations are EXCLUDED. In addition to representing inappropriate legal

conclusions, such testimony is not helpful to the jury in determining the facts at issue

in these cases and runs the risk of misleading the jury and confusing the issues.

Insofar as this Motion challenges the FDA-related testimony discussed here, the

Motion is GRANTED.

      A number of experts also seek to opine on Ethicon’s compliance with design

control and risk management standards. Some of this testimony involves the FDA’s

quality systems regulations, and some—likely in an attempt to sidestep my

anticipated prohibition on FDA testimony—involve foreign regulations and

international standards. I find all of this proposed testimony of dubious relevance.

Although these standards relate to how a manufacturer should structure and

document risk assessment, the standards do not appear to mandate any particular

design feature or prescribe the actual balance that must be struck in weighing a

product’s risk and utility. Nor is it clear that the European and other international

standards discussed had any bearing on the U.S. medical device industry when the

device in question was being designed.

      Nevertheless, because the nuances of products liability law vary by state, I will

refrain from issuing a blanket exclusion on design process and control standards

testimony, whether rooted in the FDA or otherwise. Each standard must be assessed



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for its applicability to the safety questions at issue in this litigation, consistent with

state law. I am without sufficient information to make these findings at this time.

Accordingly, I RESERVE ruling on such matters until a hearing, where the trial

judge will have additional context to carefully evaluate the relevance and potential

prejudicial impact of specific testimony.

      Similarly, I doubt the relevance of testimony on the adequacy of Ethicon’s

clinical testing and research, physician outreach, or particular product development

procedures and assessments otherwise not encompassed by the above discussion.

Again, such matters seem to say very little about the state of the product itself (i.e.,

whether or not it was defective) when it went on the market. But because the scope

of relevant testimony may vary according to differences in state products liability law,

I RESERVE ruling on such matters until they may be evaluated in proper context at

a hearing before the trial court before or at trial.

      Additional—and more broad—matters also warrant mention. While some of

these concerns may not apply to this particular expert, these concerns are raised so

frequently that they are worth discussing here.

      First, many of the motions seek to exclude state-of-mind and legal-conclusion

expert testimony. Throughout these MDLs, the court has prohibited the parties from

using experts to usurp the jury’s fact-finding function by allowing testimony of this

type, and I do the same here. E.g., In re C. R. Bard, Inc., 948 F. Supp. 2d 589, 611

(S.D. W. Va. 2013); see also, e.g., United States v. McIver, 470 F.3d 550, 562 (4th Cir.

2006) (“[O]pinion testimony that states a legal standard or draws a legal conclusion



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by applying law to the facts is generally inadmissible.”); In re Rezulin Prods. Liab.

Litig., 309 F. Supp. 2d 531, 546 (S.D.N.Y. 2004) (“Inferences about the intent and

motive of parties or others lie outside the bounds of expert testimony.”). Additionally,

an expert may not offer expert testimony using “legal terms of art,” such as

“defective,” “unreasonably dangerous,” or “proximate cause.” See Perez v. Townsend

Eng’g Co., 562 F. Supp. 2d 647, 652 (M.D. Pa. 2008).

      Second, and on a related note, many of the motions seek to prohibit an expert

from parroting facts found in corporate documents and the like. I caution the parties

against introducing corporate evidence through expert witnesses. Although an expert

may testify about his review of internal corporate documents solely for the purpose

of explaining the basis for his or her expert opinions—assuming the expert opinions

are otherwise admissible—he or she may not offer testimony that is solely a conduit

for corporate information.

      Third, many of the motions also ask the court to require an expert to offer

testimony consistent with that expert’s deposition or report or the like. The court will

not force an expert to testify one way or another. To the extent an expert offers

inconsistent testimony, the matter is more appropriately handled via cross-

examination or impeachment as appropriate and as provided by the Federal Rules of

Evidence.

      Fourth, in these Daubert motions, the parties have addressed tertiary

evidentiary matters like whether certain statements should be excluded as hearsay.

The court will not exclude an expert simply because a statement he or she discussed



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may constitute hearsay. Cf. Daubert, 509 U.S. at 595. Hearsay objections are more

appropriately raised at trial.

      Finally, in some of the Daubert motions, without identifying the specific expert

testimony to be exclude, the parties ask the court to prevent experts from offering

other expert testimony that the moving party claims the expert is not qualified to

offer. I will not make speculative or advisory rulings. I decline to exclude testimony

where the party seeking exclusion does not provide specific content or context.

      VI.    Conclusion

      The court DENIES in part, GRANTS in part, and RESERVES in part the

Motion to Exclude Certain General Opinions of Jerry Blaivas, M.D. [ECF No. 2038].

      The court DIRECTS the Clerk to file a copy of this Memorandum Opinion and

Order in 2:12-md-2327 and in the Ethicon Wave 1 cases identified in the Exhibit

attached hereto.



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                    IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            CHARLESTON DIVISION


IN RE: ETHICON, INC. PELVIC REPAIR                       Master File No. 2:12-MD-02327
SYSTEM PRODUCTS LIABILITY                                        MDL No. 2327
LITIGATION

                                                             JOSEPH R. GOODWIN
THIS DOCUMENT RELATES TO                                     U.S. DISTRICT JUDGE
ETHICON WAVE 1 CASES


                   EXHIBIT A TO MOTION TO EXCLUDE CERTAIN
                  GENERAL OPINIONS OF JERRY G. BLAIVAS, M.D.

                          ALL CASES PERTINENT TO MOTION

   1. Joan Adams v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01203 (Prolift);

   2. Marty Babcock v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01052 (TVT);

   3. Daphne Barker, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00899 (TVT);

   4. Dorothy Baugher v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01053 (TVT-O);

   5. Melissa Clayton, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00489 (Prolift);

   6. Constance Daino, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01145 (TVT);

   7. Lois Durham, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00760 (Prolift &
      TVT-O);

   8. Monica Freitas, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01146 (TVT);

   9. Beth Harter, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00737 (Prosima &
      TVT-O);

   10. Jeanie Holmes v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01206 (TVT-O);

   11. Mary Holzerland, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00875 (TVT-
       Secur);

   12. Myndal Johnson v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00498 (TVT);

   13. Holly Jones, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00443 (TVT);
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   14. Deborah Lynn Joplin v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00787 (TVT-O);

   15. Beverly Kivel v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00591 (Gynemesh PS);

   16. Paula Kriz, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00938 (Gynemesh PS
       & TVT-O);

   17. Alfreda Lee, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01013 (TVT-Secur);

   18. Angela Morrison, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00800 (TVT);

   19. Miranda Patterson v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00481 (TVT-O);

   20. Patti Ann Phelps v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01171 (TVT);

   21. Maria Eugenia Quijano v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00799 (TVT);

   22. Jennifer Reyes, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00939 (TVT);

   23. Ana Ruebel v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00663 (Prolift Total & TVT-
       O);

   24. Denise Sacchetti v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01148 (TVT-O);

   25. Stacy Shultis, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00654 (TVT-O);

   26. Susan Thaman v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00279 (Prolift Anterior &
       TVT-Secur);

   27. Laura Waynick, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01151 (TVT);

   28. Rebecca Wheeler, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-01088 (TVT-O);

   29. Virginia White, et al. v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00958 (Gynemesh
       PS & TVT-R); and

   30. Kathleen Wolfe v. Ethicon, Inc., et al., Civil Action No. 2:12-cv-00337 (TVT).



* Defendants reserve the right to supplement this list should any other plaintiff be allowed to
designate Dr. Blaivas as general causation expert in MDL Wave 1.
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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                             CHARLESTON DIVISION

IN RE:      ETHICON INC.
            PELVIC REPAIR SYSTEMS
            PRODUCT LIABILITY LITIGATION                        MDL No. 2327
______________________________________________________________________________

THIS DOCUMENT RELATES TO:

Cases Identified in the Exhibit
Attached Hereto

                     MEMORANDUM OPINION AND ORDER
                    (Daubert Motion re: Salil Khandwala, M.D.)


      Pending before the court is the Motion to Exclude or Limit the Opinions and

Testimony of Dr. Salil Khandwala, M.D. [ECF No. 2003] filed by the plaintiffs. The

Motion is now ripe for consideration because briefing is complete.

      I.     Background

      This case resides in one of seven MDLs assigned to me by the Judicial Panel

on Multidistrict Litigation concerning the use of transvaginal surgical mesh to treat

pelvic organ prolapse (“POP”) and stress urinary incontinence (“SUI”). In the seven

MDLs, there are more than 75,000 cases currently pending, approximately 30,000 of

which are in this MDL, which involves defendants Johnson & Johnson and Ethicon,

Inc. (collectively “Ethicon”), among others.

      In this MDL, the court’s tasks include “resolv[ing] pretrial issues in a timely

and expeditious manner” and “resolv[ing] important evidentiary disputes.” Barbara

J. Rothstein & Catherine R. Borden, Fed. Judicial Ctr., Managing Multidistrict
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Litigation in Products Liability Cases 3 (2011). To handle motions to exclude or to

limit expert testimony pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993), the court developed a specific procedure. In Pretrial Order

(“PTO”) No. 217, the court instructed the parties to file only one Daubert motion per

challenged expert, to file each motion in the main MDL—as opposed to the individual

member cases—and to identify which cases would be affected by the motion. PTO No.

217, at 4.1

       II.     Preliminary Matters

       Before plunging into the heart of the Motion, a few preliminary matters need

to be addressed.

       I am compelled to comment on the parties’ misuse of my previous Daubert

rulings on several of the experts offered in this case. See generally Sanchez v. Bos.

Sci. Corp., No. 2:12-cv-05762, 2014 WL 4851989 (S.D. W. Va. Sept. 29, 2014); Tyree

v. Bos. Sci. Corp., 54 F. Supp. 3d 501 (S.D. W. Va. 2014); Eghnayem v. Bos. Sci. Corp.,

57 F. Supp. 3d 658 (S.D. W. Va. 2014). The parties have, for the most part, structured

their Daubert arguments as a response to these prior rulings, rather than an

autonomous challenge to or defense of expert testimony based on its reliability and

relevance. In other words, the parties have comparatively examined expert testimony

and have largely overlooked Daubert’s core considerations for assessing expert




1 The plaintiffs identified the Wave 1 cases affected by this Motion in their attached Exhibit A [ECF
No. 2003-1], which the court has attached to this Memorandum Opinion and Order. At the time of
transfer or remand, the parties will be required to designate relevant pleadings from MDL 2327,
including the motion, supporting memorandum, response, reply, and exhibits referenced herein.

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testimony. Although I recognize the tendency of my prior evidentiary determinations

to influence subsequent motions practice, counsels’ expectations that I align with

these previous rulings when faced with a different record are misplaced, especially

when an expert has issued new reports and given additional deposition testimony.

      Mindful of my role as gatekeeper for the admission of expert testimony, as well

as my duty to “respect[ ] the individuality” of each MDL case, see In re

Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1231 (9th Cir. 2006), I refuse

to credit Daubert arguments that simply react to the court’s rulings in Sanchez and

its progeny. Indeed, I feel bound by these earlier cases only to the extent that the

expert testimony and Daubert objections presented to the court then are identical to

those presented now. Otherwise, I assess the parties’ Daubert arguments anew. That

is, in light of the particular expert testimony and objections currently before me, I

assess “whether the reasoning or methodology underlying the testimony is

scientifically valid” and “whether that reasoning or methodology properly can be

applied to the facts in issue.” Daubert, 509 U.S. at 592–93. Any departure from

Sanchez, Eghnayem, or Tyree does not constitute a “reversal” of these decisions and

is instead the expected result of the parties’ submission of updated expert reports and

new objections to the expert testimony contained therein.

      Finally, I have attempted to resolve all possible disputes before transfer or

remand, including those related to the admissibility of expert testimony pursuant to

Daubert. Nevertheless, in some instances I face Daubert challenges where my

interest in accuracy counsels reserving ruling until the reliability of the expert



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testimony may be evaluated at trial. At trial, the expert testimony will be tested by

precise questions asked and answered. The alternative of live Daubert hearings is

impossible before transfer or remand because of the numerosity of such motions in

these seven related MDLs. As these MDLs have grown and the expert testimony has

multiplied, I have become convinced that the critical gatekeeping function permitting

or denying expert testimony on decisive issues in these cases is best made with a live

expert on the witness stand subject to vigorous examination.

      In the course of examining a multitude of these very similar cases involving

the same fields of expertise, I have faced irreconcilably divergent expert testimony

offered by witnesses with impeccable credentials, suggesting, to me, an unreasonable

risk of unreliability. The danger—and to my jaded eye, the near certainty—of the

admission of “junk science” looms large in this mass litigation.

      The parties regularly present out-of-context statements, after-the-fact

rationalizations of expert testimony, and incomplete deposition transcripts. This,

combined with the above-described practice of recycling expert testimony, objections,

and the court’s prior rulings, creates the perfect storm of obfuscation. Where further

clarity is necessary, I believe it can only be achieved through live witness testimony—

not briefing—and I will therefore reserve ruling until the expert testimony can be

evaluated firsthand.

      III.   Legal Standard

      By now, the parties should be intimately familiar with Rule 702 of the Federal

Rules of Evidence and Daubert, so the court will not linger for long on these



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standards.

      Expert testimony is admissible if the expert is qualified and if his or her expert

testimony is reliable and relevant. Fed. R. Evid. 702; see also Daubert, 509 U.S. at

597. An expert may be qualified to offer expert testimony based on his or her

“knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. Reliability

may turn on the consideration of several factors:

             (1) whether a theory or technique can be or has been tested;
             (2) whether it has been subjected to peer review and
             publication; (3) whether a technique has a high known or
             potential rate of error and whether there are standards
             controlling its operation; and (4) whether the theory or
             technique enjoys general acceptance within a relevant
             scientific community.

Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001) (citing Daubert,

509 U.S. at 592–94). But these factors are neither necessary to nor determinative of

reliability in all cases; the inquiry is flexible and puts “principles and methodology”

above conclusions and outcomes. Daubert, 509 U.S. at 595; see also Kumho Tire Co.

v. Carmichael, 525 U.S. 137, 141, 150 (1999). Finally, and simply, relevance turns on

whether the expert testimony relates to any issues in the case. See, e.g., Daubert, 509

U.S. at 591–92 (discussing relevance and helpfulness).

      At bottom, the court has broad discretion to determine whether expert

testimony should be admitted or excluded. Cooper, 259 F.3d at 200.

      IV.    Discussion

      Dr. Salil Khandwala is board-certified in obstetrics, gynecology, and female

pelvic medicine and reconstructive surgery.



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             a. Safety and Efficacy

      The plaintiffs challenge the reliability of Dr. Khandwala’s expert testimony by

criticizing the studies he chose to compare, opining he should have adjusted his

criteria, noting his failure to account for varying definitions of “success,” claiming he

focuses on objective outcomes over subjective outcomes, and pointing out his failure

to publish his own study. At bottom, the plaintiffs have not sufficiently supported

their arguments or credibly called into question the reliability of this expert

testimony. The plaintiffs are free to raise their concerns on cross-examination, but

their Motion is DENIED on this point.

             b. Mesh Properties

      The plaintiffs also seek exclusion of Dr. Khandwala’s testimony on

biomaterials, biocompatibility, and foreign body response because he has “conceded”

that he is not a biomaterials expert. Such concessions are not dispositive, particularly

when taken out of context. Dr. Khandwala is a board-certified urogynecologist with a

subspecialty in female pelvic medicine and reconstructive surgery. He has used

polypropylene mesh in more than 1,000 SUI procedures and over 800 POP

procedures. This extensive clinical experience qualifies Dr. Khandwala to opine on

mesh’s reaction to and effect on the human body from a clinical perspective. The

plaintiffs’ Motion is DENIED on this matter.

      The plaintiffs also challenge the reliability of Dr. Khandwala’s opinions on

degradation and contraction. Ethicon acknowledges that Dr. Khandwala’s expert

report contains no degradation opinion and represents that he will not offer



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degradation opinions at trial. The plaintiffs’ Motion as to degradation is DENIED as

moot.

        As to contraction, Dr. Khandwala’s opinion is supported by “extensive clinical

experience and his analysis of the scientific literature.” Resp. 9 [ECF No. 2175]. In

the abstract, these are reliable bases on which to form an expert opinion. See Kumho,

526 U.S. at 156 (“[N]o one denies that an expert might draw a conclusion from a set

of observations based on extensive and specialized experience.”). However, the court

is unable to judge the reliability of Dr. Khandwala’s observations without more

information about his methodology. See Fed. R. Evid. 702 advisory committee’s note

to 2000 amendment (“If the witness is relying solely or primarily on experience, then

the witness must explain how that experience leads to the conclusion reached, why

that experience is a sufficient basis for the opinion, and how that experience is

reliably applied to the facts.”). I am without sufficient information at this time to

draw the fine line between reliable and unreliable expert testimony based primarily

on a doctor’s clinical experience not observing something. Accordingly, I RESERVE

ruling until further testimony may be offered and evaluated firsthand at trial.

        The plaintiffs also seek to exclude Dr. Khandwala’s testimony on mesh porosity

and stiffness, though on what grounds is unclear. To the extent they are challenging

Dr. Khandwala’s qualifications, the Motion is DENIED for the reasons discussed

above on biomaterials. To the extent they are challenging reliability, I RESERVE

ruling for the reasons laid out above related to mesh contracture.

              c. Warnings



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      Ethicon states that Dr. Khandwala will not testify at trial regarding the

adequacy of the relevant Instructions for Use. Accordingly, the plaintiffs’ Motion is

DENIED as moot as to this matter.

      V.      Recurring Issues

      Many of the Daubert motions filed in this MDL raise the same or similar

objections.

      One particular issue has been a staple in this litigation, so I find it best to

discuss it in connection with every expert. A number of the Daubert motions seek to

exclude FDA testimony and other regulatory or industry standards testimony. To the

extent this Motion raises these issues it is GRANTED in part and RESERVED in

part as described below.

      I have repeatedly excluded evidence regarding the FDA’s section 510(k)

clearance process in these MDLs, and will continue to do so in these cases, a position

that has been affirmed by the Fourth Circuit. In re C. R. Bard, Inc., 81 F.3d 913,

921–23 (4th Cir. 2016) (upholding the determination that the probative value of

evidence related to section 510(k) was substantially outweighed by its possible

prejudicial impact under Rule 403). Because the section 510(k) clearance process does

not speak directly to safety and efficacy, it is of negligible probative value. See In re

C. R. Bard, 81 F.3d at 920 (“[T]he clear weight of persuasive and controlling authority

favors a finding that the 510(k) procedure is of little or no evidentiary value.”).

Delving into complex and lengthy testimony about regulatory compliance could

inflate the perceived importance of compliance and lead jurors “to erroneously



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conclude that regulatory compliance proved safety.” Id. at 922. Accordingly, expert

testimony related to the section 510(k) process, including subsequent enforcement

actions and discussion of the information Ethicon did or did not submit in its section

510(k) application, is EXCLUDED. For the same reasons, opinions about Ethicon’s

compliance with or violation of the FDA’s labeling and adverse event reporting

regulations are EXCLUDED. In addition to representing inappropriate legal

conclusions, such testimony is not helpful to the jury in determining the facts at issue

in these cases and runs the risk of misleading the jury and confusing the issues.

Insofar as this Motion challenges the FDA-related testimony discussed here, the

Motion is GRANTED.

      A number of experts also seek to opine on Ethicon’s compliance with design

control and risk management standards. Some of this testimony involves the FDA’s

quality systems regulations, and some—likely in an attempt to sidestep my

anticipated prohibition on FDA testimony—involve foreign regulations and

international standards. I find all of this proposed testimony of dubious relevance.

Although these standards relate to how a manufacturer should structure and

document risk assessment, the standards do not appear to mandate any particular

design feature or prescribe the actual balance that must be struck in weighing a

product’s risk and utility. Nor is it clear that the European and other international

standards discussed had any bearing on the U.S. medical device industry when the

device in question was being designed.

      Nevertheless, because the nuances of products liability law vary by state, I will



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refrain from issuing a blanket exclusion on design process and control standards

testimony, whether rooted in the FDA or otherwise. Each standard must be assessed

for its applicability to the safety questions at issue in this litigation, consistent with

state law. I am without sufficient information to make these findings at this time.

Accordingly, I RESERVE ruling on such matters until a hearing, where the trial

judge will have additional context to carefully evaluate the relevance and potential

prejudicial impact of specific testimony.

      Similarly, I doubt the relevance of testimony on the adequacy of Ethicon’s

clinical testing and research, physician outreach, or particular product development

procedures and assessments otherwise not encompassed by the above discussion.

Again, such matters seem to say very little about the state of the product itself (i.e.,

whether or not it was defective) when it went on the market. But because the scope

of relevant testimony may vary according to differences in state products liability law,

I RESERVE ruling on such matters until they may be evaluated in proper context at

a hearing before the trial court before or at trial.

      Additional—and more broad—matters also warrant mention. While some of

these concerns may not apply to this particular expert, these concerns are raised so

frequently that they are worth discussing here.

      First, many of the motions seek to exclude state-of-mind and legal-conclusion

expert testimony. Throughout these MDLs, the court has prohibited the parties from

using experts to usurp the jury’s fact-finding function by allowing testimony of this

type, and I do the same here. E.g., In re C. R. Bard, Inc., 948 F. Supp. 2d 589, 611



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(S.D. W. Va. 2013); see also, e.g., United States v. McIver, 470 F.3d 550, 562 (4th Cir.

2006) (“[O]pinion testimony that states a legal standard or draws a legal conclusion

by applying law to the facts is generally inadmissible.”); In re Rezulin Prods. Liab.

Litig., 309 F. Supp. 2d 531, 546 (S.D.N.Y. 2004) (“Inferences about the intent and

motive of parties or others lie outside the bounds of expert testimony.”). Additionally,

an expert may not offer expert testimony using “legal terms of art,” such as

“defective,” “unreasonably dangerous,” or “proximate cause.” See Perez v. Townsend

Eng’g Co., 562 F. Supp. 2d 647, 652 (M.D. Pa. 2008).

      Second, and on a related note, many of the motions seek to prohibit an expert

from parroting facts found in corporate documents and the like. I caution the parties

against introducing corporate evidence through expert witnesses. Although an expert

may testify about his or her review of internal corporate documents solely for the

purpose of explaining the basis for his or her expert opinions—assuming the expert

opinions are otherwise admissible—he or she may not offer testimony that is solely a

conduit for corporate information.

      Third, many of the motions also ask the court to require an expert to offer

testimony consistent with that expert’s deposition or report or the like. The court will

not force an expert to testify one way or another. To the extent an expert offers

inconsistent testimony, the matter is more appropriately handled via cross-

examination or impeachment as appropriate and as provided by the Federal Rules of

Evidence.

      Fourth, in these Daubert motions, the parties have addressed tertiary



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evidentiary matters like whether certain statements should be excluded as hearsay.

The court will not exclude an expert simply because a statement he or she discussed

may constitute hearsay. Cf. Daubert, 509 U.S. at 595. Hearsay objections are more

appropriately raised at trial.

      Finally, in some of the Daubert motions, without identifying the specific expert

testimony to be excluded, the parties ask the court to prevent experts from offering

testimony the expert is not qualified to offer. I will not make speculative or advisory

rulings. I decline to exclude testimony where the party seeking exclusion does not

provide specific content or context.

      VI.    Conclusion

      The court DENIES in part, GRANTS in part, and RESERVES in part the

Motion to Exclude or Limit the Opinions and Testimony of Dr. Salil Khandwala, M.D.

[ECF No. 2003].

      The court DIRECTS the Clerk to file a copy of this Memorandum Opinion and

Order in 2:12-md-2327 and in the Ethicon Wave 1 cases identified in the Exhibit

attached hereto.



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                  EXHIBIT A – KHANDWALA DAUBERT MOTION

Brenda Riddell
Case No. 2:12-cv-00547

Dina Sanders Bennett
Case No. 2:12-cv-00497

Beverly Kivel
Case No. 2:12-cv-00591

Barbara Kaiser
Case No. 2:12-cv-00887

Shirley Walker
Case No. 2:12-cv-00873

Pamela Free
Case No. 2:12-cv-00423




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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                            CHARLESTON DIVISION

IN RE:      ETHICON, INC.
            PELVIC REPAIR SYSTEMS
            PRODUCT LIABILITY LITIGATION                        MDL No. 2327
______________________________________________________________________________

THIS DOCUMENT RELATES TO:

Cases Identified in the Exhibit
Attached Hereto


                    MEMORANDUM OPINION AND ORDER
                    (Daubert Motion re: Dr. Jimmy W. Mays)


      Pending before the court is the Motion to Exclude the Opinions and Testimony

of Dr. Jimmy W. Mays [ECF No. 2071] filed by the defendants Ethicon, Inc. and

Johnson & Johnson (collectively “Ethicon”). The Motion is ripe for consideration.

      I.     Background

      This case resides in one of seven MDLs assigned to me by the Judicial Panel

on Multidistrict Litigation concerning the use of transvaginal surgical mesh to treat

pelvic organ prolapse (“POP”) and stress urinary incontinence (“SUI”). In the seven

MDLs, there are more than 75,000 cases currently pending, approximately 30,000 of

which are in this MDL.

      In this MDL, the court’s tasks include “resolv[ing] pretrial issues in a timely

and expeditious manner” and “resolv[ing] important evidentiary disputes.” Barbara

J. Rothstein & Catherine R. Borden, Fed. Judicial Ctr., Managing Multidistrict
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Litigation in Products Liability Cases 3 (2011). To handle motions to exclude or to

limit expert testimony pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993), the court developed a specific procedure. In Pretrial Order

(“PTO”) No. 217, the court instructed the parties to file only one Daubert motion per

challenged expert, to file each motion in the main MDL—as opposed to the individual

member cases—and to identify which cases would be affected by the motion. PTO No.

217, at 4.1

       II.     Preliminary Matters

       Before plunging into the heart of the Motion, a few preliminary matters need

to be addressed.

       I am compelled to comment on the parties’ misuse of my previous Daubert

rulings on several of the experts offered in this case. See generally Sanchez v. Bos.

Sci. Corp., No. 2:12-cv-05762, 2014 WL 4851989 (S.D. W. Va. Sept. 29, 2014); Tyree

v. Bos. Sci. Corp., 54 F. Supp. 3d 501 (S.D. W. Va. 2014); Eghnayem v. Bos. Sci. Corp.,

57 F. Supp. 3d 658 (S.D. W. Va. 2014). The parties have, for the most part, structured

their Daubert arguments as a response to these prior rulings, rather than an

autonomous challenge to or defense of expert testimony based on its reliability and

relevance. In other words, the parties have comparatively examined expert testimony

and have largely overlooked Daubert’s core considerations for assessing expert

testimony. Although I recognize the tendency of my prior evidentiary determinations


1 Ethicon identified the Wave 1 cases affected by this Motion in its Exhibit A [ECF No. 2071-1], which

the court has attached to this Memorandum Opinion and Order. At the time of transfer or remand,
the parties will be required to designate relevant pleadings from MDL 2327, including the motion,
supporting memorandum, response, reply, and exhibits referenced herein.

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to influence subsequent motions practice, counsels’ expectations that I align with

these previous rulings when faced with a different record are misplaced, especially

when an expert has issued new reports and given additional deposition testimony.

      Mindful of my role as gatekeeper for the admission of expert testimony, as well

as my duty to “respect[ ] the individuality” of each MDL case, see In re

Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1231 (9th Cir. 2006), I refuse

to credit Daubert arguments that simply react to the court’s rulings in Sanchez and

its progeny. Indeed, I feel bound by these earlier cases only to the extent that the

expert testimony and Daubert objections presented to the court then are identical to

those presented now. Otherwise, I assess the parties’ Daubert arguments anew. That

is, in light of the particular expert testimony and objections currently before me, I

assess “whether the reasoning or methodology underlying the testimony is

scientifically valid” and “whether that reasoning or methodology properly can be

applied to the facts in issue.” Daubert, 509 U.S. at 592–93. Any departure from

Sanchez, Eghnayem, or Tyree does not constitute a “reversal” of these decisions and

is instead the expected result of the parties’ submission of updated expert reports and

new objections to the expert testimony contained therein.

      Finally, I have attempted to resolve all possible disputes before transfer or

remand, including those related to the admissibility of expert testimony pursuant to

Daubert. Nevertheless, in some instances I face Daubert challenges where my

interest in accuracy counsels reserving ruling until the reliability of the expert

testimony may be evaluated at trial. At trial, the expert testimony will be tested by



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precise questions asked and answered. The alternative of live Daubert hearings is

impossible before transfer or remand because of the numerosity of such motions in

these seven related MDLs. As these MDLs have grown and the expert testimony has

multiplied, I have become convinced that the critical gatekeeping function permitting

or denying expert testimony on decisive issues in these cases is best made with a live

expert on the witness stand subject to vigorous examination.

      In the course of examining a multitude of these very similar cases involving

the same fields of expertise, I have faced irreconcilably divergent expert testimony

offered by witnesses with impeccable credentials, suggesting, to me, an unreasonable

risk of unreliability. The danger—and to my jaded eye, the near certainty—of the

admission of “junk science” looms large in this mass litigation.

      The parties regularly present out-of-context statements, after-the-fact

rationalizations of expert testimony, and incomplete deposition transcripts. This,

combined with the above-described practice of recycling expert testimony, objections,

and the court’s prior rulings, creates the perfect storm of obfuscation. Where further

clarity is necessary, I believe it can only be achieved through live witness testimony—

not briefing—I will therefore reserve ruling until expert testimony can be evaluated

firsthand.

      III.   Legal Standard

      By now, the parties should be intimately familiar with Rule 702 of the Federal

Rules of Evidence and Daubert, so the court will not linger for long on these

standards.



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      Expert testimony is admissible if the expert is qualified and if his or her expert

testimony is reliable and relevant. Fed. R. Evid. 702; see also Daubert, 509 U.S. at

597. An expert may be qualified to offer expert testimony based on his or her

“knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. Reliability

may turn on the consideration of several factors:

             (1) whether a theory or technique can be or has been tested;
             (2) whether it has been subjected to peer review and
             publication; (3) whether a technique has a high known or
             potential rate of error and whether there are standards
             controlling its operation; and (4) whether the theory or
             technique enjoys general acceptance within a relevant
             scientific community.

Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001) (citing Daubert,

509 U.S. at 592–94). But these factors are neither necessary to nor determinative of

reliability in all cases; the inquiry is flexible and puts “principles and methodology”

above conclusions and outcomes. Daubert, 509 U.S. at 595; see also Kumho Tire Co.

v. Carmichael, 525 U.S. 137, 141, 150 (1999). Finally, and simply, relevance turns on

whether the expert testimony relates to any issues in the case. See, e.g., Daubert, 509

U.S. at 591–92 (discussing relevance and helpfulness).

      At bottom, the court has broad discretion to determine whether expert

testimony should be admitted or excluded. Cooper, 259 F.3d at 200.

      IV.    Discussion

      Dr. Mays has a Ph.D. in polymer science and is an expert witness for the

plaintiffs. Ethicon objects to Dr. Mays’s expert testimony on several grounds

discussed below.



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              a. Degradation

       Ethicon argues that Dr. Mays’s degradation opinions are unreliable and should

be excluded. Ethicon’s argument hinges on its assertion that Prolene is unique from

generic polypropylene and Dr. Mays did not base his opinions on literature specific to

Prolene. I disagree that the supposed distinction between Prolene specifically and

polypropylene generally renders studies on the latter unhelpful when discussing the

former. See, e.g., Huskey v. Ethicon, Inc., 29 F. Supp. 3d 691, 703 (S.D. W. Va. 2014)

(rejecting Ethicon’s argument as “wholly conceived by lawyers, unfounded in

science”). Insofar as Ethicon seeks exclusion of Dr. Mays’s opinions because he does

not account for the differences between polypropylene and Prolene, its Motion is

DENIED.2

       I also reject the argument that Dr. Mays should not be permitted to base his

opinion on internal Ethicon studies on Prolene sutures unless Ethicon can introduce

evidence of FDA approval. FDA approval of Prolene sutures has no bearing on the

degradation-specific findings of the relevant studies or on the appropriateness of Dr.

Mays’s reliance on them to opine on degradation. Ethicon’s Motion to this effect is

DENIED.

              b. Complications

       Ethicon also seeks to exclude Dr. Mays’s opinions regarding medical



2 The court views Ethicon’s concerns that Dr. Mays did not conduct his own testing or rely on
appropriate literature as stemming from its contention that Prolene is incomparable to generic
polypropylene. Such arguments are disposed of in the above ruling.

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complications that are caused by alleged mesh degradation. Dr. Mays is not a medical

doctor; instead, he is a polymer chemist. Dr. Mays has not examined patients, and he

has not conducted differential diagnoses. Dr. Mays is simply not qualified to offer

opinions on medical complications that may be caused by polymer degradation.

Accordingly, Dr. Mays’s opinions regarding complications resulting from alleged

polypropylene degradation are EXCLUDED.

      V.      Recurring Issues

      Many of the Daubert motions filed in this MDL raise the same or similar

objections.

      One particular issue has been a staple in this litigation, so I find it best to

discuss it in connection with every expert. A number of the Daubert motions seek to

exclude FDA testimony and other regulatory or industry standards testimony. To the

extent this Motion raises these issues it is GRANTED in part and RESERVED in

part as described below.

      I have repeatedly excluded evidence regarding the FDA’s section 510(k)

clearance process in these MDLs, and will continue to do so in these cases, a position

that has been affirmed by the Fourth Circuit. In re C. R. Bard, Inc., 81 F.3d 913,

921–23 (4th Cir. 2016) (upholding the determination that the probative value of

evidence related to section 510(k) was substantially outweighed by its possible

prejudicial impact under Rule 403). Because the section 510(k) clearance process does

not speak directly to safety and efficacy, it is of negligible probative value. See In re

C. R. Bard, 81 F.3d at 920 (“[T]he clear weight of persuasive and controlling authority



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favors a finding that the 510(k) procedure is of little or no evidentiary value.”).

Delving into complex and lengthy testimony about regulatory compliance could

inflate the perceived importance of compliance and lead jurors “to erroneously

conclude that regulatory compliance proved safety.” Id. at 922. Accordingly, expert

testimony related to the section 510(k) process, including subsequent enforcement

actions and discussion of the information Ethicon did or did not submit in its section

510(k) application, is EXCLUDED. For the same reasons, opinions about Ethicon’s

compliance with or violation of the FDA’s labeling and adverse event reporting

regulations are EXCLUDED. In addition to representing inappropriate legal

conclusions, such testimony is not helpful to the jury in determining the facts at issue

in these cases and runs the risk of misleading the jury and confusing the issues.

Insofar as this Motion challenges the FDA-related testimony discussed here, the

Motion is GRANTED.

      A number of experts also seek to opine on Ethicon’s compliance with design

control and risk management standards. Some of this testimony involves the FDA’s

quality systems regulations, and some—likely in an attempt to sidestep my

anticipated prohibition on FDA testimony—involve foreign regulations and

international standards. I find all of this proposed testimony of dubious relevance.

Although these standards relate to how a manufacturer should structure and

document risk assessment, the standards do not appear to mandate any particular

design feature or prescribe the actual balance that must be struck in weighing a

product’s risk and utility. Nor is it clear that the European and other international



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standards discussed had any bearing on the U.S. medical device industry when the

device in question was being designed.

      Nevertheless, because the nuances of products liability law vary by state, I will

refrain from issuing a blanket exclusion on design process and control standards

testimony, whether rooted in the FDA or otherwise. Each standard must be assessed

for its applicability to the safety questions at issue in this litigation, consistent with

state law. I am without sufficient information to make these findings at this time.

Accordingly, I RESERVE ruling on such matters until a hearing, where the trial

judge will have additional context to carefully evaluate the relevance and potential

prejudicial impact of specific testimony.

      Similarly, I doubt the relevance of testimony on the adequacy of Ethicon’s

clinical testing and research, physician outreach, or particular product development

procedures and assessments otherwise not encompassed by the above discussion.

Again, such matters seem to say very little about the state of the product itself (i.e.,

whether or not it was defective) when it went on the market. But because the scope

of relevant testimony may vary according to differences in state products liability law,

I RESERVE ruling on such matters until they may be evaluated in proper context at

a hearing before the trial court or at trial.

      Additional—and more broad—matters also warrant mention. While some of

these concerns may not apply to this particular expert, these concerns are raised so

frequently that they are worth discussing here.

      First, many of the motions seek to exclude state-of-mind and legal-conclusion



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expert testimony. Throughout these MDLs, the court has prohibited the parties from

using experts to usurp the jury’s fact-finding function by allowing testimony of this

type, and I do the same here. E.g., In re C. R. Bard, Inc., 948 F. Supp. 2d 589, 611

(S.D. W. Va. 2013); see also, e.g., United States v. McIver, 470 F.3d 550, 562 (4th Cir.

2006) (“[O]pinion testimony that states a legal standard or draws a legal conclusion

by applying law to the facts is generally inadmissible.”); In re Rezulin Prods. Liab.

Litig., 309 F. Supp. 2d 531, 546 (S.D.N.Y. 2004) (“Inferences about the intent and

motive of parties or others lie outside the bounds of expert testimony.”). Additionally,

an expert may not offer expert testimony using “legal terms of art,” such as

“defective,” “unreasonably dangerous,” or “proximate cause.” See Perez v. Townsend

Eng’g Co., 562 F. Supp. 2d 647, 652 (M.D. Pa. 2008).

      Second, and on a related note, many of the motions seek to prohibit an expert

from parroting facts found in corporate documents and the like. I caution the parties

against introducing corporate evidence through expert witnesses. Although an expert

may testify about his review of internal corporate documents solely for the purpose

of explaining the basis for his or her expert opinions—assuming the expert testimony

is otherwise admissible—he or she may not offer testimony that is solely a conduit

for corporate information.

      Third, many of the motions also ask the court to require an expert to offer

testimony consistent with that expert’s deposition or report or the like. The court will

not force an expert to testify one way or another. To the extent an expert offers

inconsistent testimony, the matter is more appropriately handled via cross-



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examination or impeachment as appropriate and as provided by the Federal Rules of

Evidence.

         Fourth, in these Daubert motions, the parties have addressed tertiary

evidentiary matters like whether certain statements should be excluded as hearsay.

The court will not exclude an expert simply because a statement he or she discussed

may constitute hearsay. Cf. Daubert, 509 U.S. at 595. Hearsay objections are more

appropriately raised at trial.

         Finally, in some of the Daubert motions, without identifying the specific expert

testimony to be excluded, the parties ask the court to prevent experts from offering

other expert testimony that the moving party claims the expert is not qualified to

offer. I will not make speculative or advisory rulings. I decline to exclude testimony

where the party seeking exclusion does not provide specific content or context.

         VI.   Conclusion

         The court DENIES in part, GRANTS in part, and RESERVES in part the

Motion to Exclude the Opinions and Testimony of Dr. Jimmy W. Mays [ECF No.

2071].

         The court DIRECTS the Clerk to file a copy of this Memorandum Opinion and

Order in 2:12-md-2327 and in the Ethicon Wave 1 cases identified in the Exhibit

attached hereto.

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                                            EXHIBIT - MAYS
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Blake, Bonnie & Larry Miketey          2:12cv00995
Bridges, Robin                         2:12cv00651
Cole, Carey Beth & David               2:12cv00483
Coleman, Angela & Timothy              2:12cv01267
Destefano-Raston, Dina & Terry         2:12cv01299
Dixon, Dennis W., re estate of
Virginia M. Dixon, dec'd               2:12cv01081
Drake, Karyn E. & Douglas E.           2:12cv00747
Evans, Ida Deanne                      2:12cv01225
Fisk, Paula                            2:12cv00848
Free, Pamela                           2:12cv00423
Georgilakis, Teresa & Angelo           2:12cv00829
Grabowski, Louise                      2:12cv00683
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Hooper, Nancy & Daniel
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Lozano, Deborah & Felipe               2:12cv00347
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Reyes, Jennifer & Jerry                2:12cv00939
Sikes, Jennifer                        2:12cv00501
Smith, Carrie                          2:12cv00258
Swint, Isabel                          2:12cv00786
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Thaman, Susan                          2:12cv00279
Thomas, Kimberly                       2:12cv00499
Vignos-Ware, Barbara J. & Gary L.
                                       2:12cv00761

Warlick, Cathy                         2:12cv00276
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Wilson, Blynn Wolfe, Elizabeth Blynn   2:12cv01286
Wroble, Julie & Jerry                  2:12cv01090
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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                             CHARLESTON DIVISION

IN RE:      ETHICON, INC.
            PELVIC REPAIR SYSTEMS
            PRODUCT LIABILITY LITIGATION                        MDL No. 2327
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THIS DOCUMENT RELATES TO:

Wave 2 Cases Identified in the
Exhibit Attached Hereto

                     MEMORANDUM OPINION AND ORDER
                     (Daubert Motion re: Larry T. Sirls, M.D.)


      Pending before the court is the Motion to Exclude the General Opinion and

Testimony of Larry T. Sirls, II, M.D. [ECF No. 2479] filed by the plaintiffs. The Motion

is now ripe for consideration because briefing is complete.

      I.     Background

      This case resides in one of seven MDLs assigned to me by the Judicial Panel

on Multidistrict Litigation concerning the use of transvaginal surgical mesh to treat

pelvic organ prolapse (“POP”) and stress urinary incontinence (“SUI”). In the seven

MDLs, there are more than 60,000 cases currently pending, approximately 28,000 of

which are in this MDL, which involves defendants Johnson & Johnson and Ethicon,

Inc. (collectively “Ethicon”), among others.

      In this MDL, the court’s tasks include “resolv[ing] pretrial issues in a timely

and expeditious manner” and “resolv[ing] important evidentiary disputes.” Barbara

J. Rothstein & Catherine R. Borden, Fed. Judicial Ctr., Managing Multidistrict
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Litigation in Products Liability Cases 3 (2011). To handle motions to exclude or to

limit expert testimony pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993), the court developed a specific procedure. In Pretrial Order

(“PTO”) No. 206, the court instructed the parties to file only one Daubert motion per

challenged expert, to file each motion in the main MDL—as opposed to the individual

member cases—and to identify which cases would be affected by the motion.1

        II.     Preliminary Matters

        Before plunging into the heart of the Motion, a few preliminary matters need

to be addressed.

        I am compelled to comment on the parties’ misuse of my previous Daubert

rulings on several of the experts offered in this case. See generally Sanchez v. Bos.

Sci. Corp., No. 2:12-cv-05762, 2014 WL 4851989 (S.D. W. Va. Sept. 29, 2014); Tyree

v. Bos. Sci. Corp., 54 F. Supp. 3d 501 (S.D. W. Va. 2014); Eghnayem v. Bos. Sci. Corp.,

57 F. Supp. 3d 658 (S.D. W. Va. 2014). The parties have, for the most part, structured

their Daubert arguments as a response to these prior rulings, rather than an

autonomous challenge to or defense of expert testimony based on its reliability and

relevance. In other words, the parties have comparatively examined expert testimony

and have largely overlooked Daubert’s core considerations for assessing expert

testimony. Although I recognize the tendency of my prior evidentiary determinations

to influence subsequent motions practice, counsels’ expectations that I align with



1 On Exhibit A, I have marked through cases that are closed, on the inactive docket, not in Wave 2,
could not be identified because of an error in the style or case number, or assigned to another District
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these previous rulings when faced with a different record are misplaced, especially

when an expert has issued new reports and given additional deposition testimony.

      Mindful of my role as gatekeeper for the admission of expert testimony, as well

as my duty to “respect[ ] the individuality” of each MDL case, see In re

Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1231 (9th Cir. 2006), I refuse

to credit Daubert arguments that simply react to the court’s rulings in Sanchez and

its progeny. Indeed, I feel bound by these earlier cases only to the extent that the

expert testimony and Daubert objections presented to the court then are identical to

those presented now. Otherwise, I assess the parties’ Daubert arguments anew. That

is, in light of the particular expert testimony and objections currently before me, I

assess “whether the reasoning or methodology underlying the testimony is

scientifically valid” and “whether that reasoning or methodology properly can be

applied to the facts in issue.” Daubert, 509 U.S. at 592–93. Any departure from

Sanchez, Eghnayem, or Tyree does not constitute a “reversal” of these decisions and

is instead the expected result of the parties’ submission of updated expert reports and

new objections to the expert testimony contained therein.

      Finally, I have attempted to resolve all possible disputes before transfer or

remand, including those related to the admissibility of expert testimony pursuant to

Daubert. Nevertheless, in some instances I face Daubert challenges where my

interest in accuracy counsels reserving ruling until the reliability of the expert

testimony may be evaluated at trial. At trial, the expert testimony will be tested by

precise questions asked and answered. The alternative of live Daubert hearings is



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impossible before transfer or remand because of the numerosity of such motions in

these seven related MDLs. As these MDLs have grown and the expert testimony has

multiplied, I have become convinced that the critical gatekeeping function permitting

or denying expert testimony on decisive issues in these cases is best made with a live

expert on the witness stand subject to vigorous examination.

      In the course of examining a multitude of these very similar cases involving

the same fields of expertise, I have faced irreconcilably divergent expert testimony

offered by witnesses with impeccable credentials, suggesting, to me, an unreasonable

risk of unreliability. The danger—and to my jaded eye, the near certainty—of the

admission of “junk science” looms large in this mass litigation.

      The parties regularly present out-of-context statements, after-the-fact

rationalizations of expert testimony, and incomplete deposition transcripts. This,

combined with the above-described practice of recycling expert testimony, objections,

and the court’s prior rulings, creates the perfect storm of obfuscation. Where further

clarity is necessary, I believe it can only be achieved through live witness testimony—

not briefing—I will therefore reserve ruling until expert testimony can be evaluated

firsthand.

      III.   Legal Standard

      By now, the parties should be intimately familiar with Rule 702 of the Federal

Rules of Evidence and Daubert, so the court will not linger for long on these

standards.

      Expert testimony is admissible if the expert is qualified and if his or her expert



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testimony is reliable and relevant. Fed. R. Evid. 702; see also Daubert, 509 U.S. at

597. An expert may be qualified to offer expert testimony based on his or her

“knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. Reliability

may turn on the consideration of several factors:

              (1) whether a theory or technique can be or has been tested;
              (2) whether it has been subjected to peer review and
              publication; (3) whether a technique has a high known or
              potential rate of error and whether there are standards
              controlling its operation; and (4) whether the theory or
              technique enjoys general acceptance within a relevant
              scientific community.

Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001) (citing Daubert,

509 U.S. at 592–94). But these factors are neither necessary to nor determinative of

reliability in all cases; the inquiry is flexible and puts “principles and methodology”

above conclusions and outcomes. Daubert, 509 U.S. at 595; see also Kumho Tire Co.

v. Carmichael, 525 U.S. 137, 141, 150 (1999). Finally, and simply, relevance turns on

whether the expert testimony relates to any issues in the case. See, e.g., Daubert, 509

U.S. at 591–92 (discussing relevance and helpfulness).

      At bottom, the court has broad discretion to determine whether expert

testimony should be admitted or excluded. Cooper, 259 F.3d at 200.

      IV.     Discussion

      Many of the Daubert motions filed in this MDL raise the same or similar

objections.

      One particular issue has been a staple in this litigation, so I find it best to

discuss it in connection with every expert. A number of the Daubert motions seek to



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exclude FDA testimony and other regulatory or industry standards testimony. To the

extent this Motion raises these issues it is GRANTED in part and RESERVED in

part as described below.

      I have repeatedly excluded evidence regarding the FDA’s section 510(k)

clearance process in these MDLs, and will continue to do so in these cases, a position

that has been affirmed by the Fourth Circuit. In re C. R. Bard, Inc., 81 F.3d 913,

921–23 (4th Cir. 2016) (upholding the determination that the probative value of

evidence related to section 510(k) was substantially outweighed by its possible

prejudicial impact under Rule 403). Because the section 510(k) clearance process does

not speak directly to safety and efficacy, it is of negligible probative value. See In re

C. R. Bard, 81 F.3d at 920 (“[T]he clear weight of persuasive and controlling authority

favors a finding that the 510(k) procedure is of little or no evidentiary value.”).

Delving into complex and lengthy testimony about regulatory compliance could

inflate the perceived importance of compliance and lead jurors “to erroneously

conclude that regulatory compliance proved safety.” Id. at 922. Accordingly, expert

testimony related to the section 510(k) process, including subsequent enforcement

actions and discussion of the information Ethicon did or did not submit in its section

510(k) application, is EXCLUDED. For the same reasons, opinions about Ethicon’s

compliance with or violation of the FDA’s labeling and adverse event reporting

regulations are EXCLUDED. In addition to representing inappropriate legal

conclusions, such testimony is not helpful to the jury in determining the facts at issue

in these cases and runs the risk of misleading the jury and confusing the issues.



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Insofar as this Motion challenges the FDA-related testimony discussed here, the

Motion is GRANTED.

      A number of experts also seek to opine on Ethicon’s compliance with design

control and risk management standards. Some of this testimony involves the FDA’s

quality systems regulations, and some—likely in an attempt to sidestep my

anticipated prohibition on FDA testimony—involve foreign regulations and

international standards. I find all of this proposed testimony of dubious relevance.

Although these standards relate to how a manufacturer should structure and

document risk assessment, the standards do not appear to mandate any particular

design feature or prescribe the actual balance that must be struck in weighing a

product’s risk and utility. Nor is it clear that the European and other international

standards discussed had any bearing on the U.S. medical device industry when the

device in question was being designed.

      Nevertheless, because the nuances of products liability law vary by state, I will

refrain from issuing a blanket exclusion on design process and control standards

testimony, whether rooted in the FDA or otherwise. Each standard must be assessed

for its applicability to the safety questions at issue in this litigation, consistent with

state law. I am without sufficient information to make these findings at this time.

Accordingly, I RESERVE ruling on such matters until a hearing where the trial judge

will have additional context to carefully evaluate the relevance and potential

prejudicial impact of specific testimony.

      Similarly, I doubt the relevance of testimony on the adequacy of Ethicon’s



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clinical testing and research, physician outreach, or particular product development

procedures and assessments otherwise not encompassed by the above discussion.

Again, such matters seem to say very little about the state of the product itself (i.e.,

whether or not it was defective) when it went on the market. But because the scope

of relevant testimony may vary according to differences in state products liability law,

I RESERVE ruling on such matters until they may be evaluated in proper context at

a hearing before the trial court before or at trial.

      Additional—and more broad—matters also warrant mention. While some of

these concerns may not apply to this particular expert, these concerns are raised so

frequently that they are worth discussing here.

      First, many of the motions seek to exclude state-of-mind and legal-conclusion

expert testimony. Throughout these MDLs, the court has prohibited the parties from

using experts to usurp the jury’s fact-finding function by allowing testimony of this

type, and I do the same here. E.g., In re C. R. Bard, Inc., 948 F. Supp. 2d 589, 611

(S.D. W. Va. 2013); see also, e.g., United States v. McIver, 470 F.3d 550, 562 (4th Cir.

2006) (“[O]pinion testimony that states a legal standard or draws a legal conclusion

by applying law to the facts is generally inadmissible.”); In re Rezulin Prods. Liab.

Litig., 309 F. Supp. 2d 531, 546 (S.D.N.Y. 2004) (“Inferences about the intent and

motive of parties or others lie outside the bounds of expert testimony.”). Additionally,

an expert may not offer expert testimony using “legal terms of art,” such as

“defective,” “unreasonably dangerous,” or “proximate cause.” See Perez v. Townsend

Eng’g Co., 562 F. Supp. 2d 647, 652 (M.D. Pa. 2008).



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      Second, and on a related note, many of the motions seek to prohibit an expert

from parroting facts found in corporate documents and the like. I caution the parties

against introducing corporate evidence through expert witnesses. Although an expert

may testify about his review of internal corporate documents solely for the purpose

of explaining the basis for his or her expert opinions—assuming the expert opinions

are otherwise admissible—he or she may not offer testimony that is solely a conduit

for corporate information.

      Third, many of the motions also ask the court to require an expert to offer

testimony consistent with that expert’s deposition or report or the like. The court will

not force an expert to testify one way or another. To the extent an expert offers

inconsistent testimony, the matter is more appropriately handled via cross-

examination or impeachment as appropriate and as provided by the Federal Rules of

Evidence.

      Fourth, in these Daubert motions, the parties have addressed tertiary

evidentiary matters like whether certain statements should be excluded as hearsay.

The court will not exclude an expert simply because a statement he or she discussed

may constitute hearsay. Cf. Daubert, 509 U.S. at 595. Hearsay objections are more

appropriately raised at trial.

      Finally, in some of the Daubert motions, without identifying the specific expert

testimony to be excluded, the parties ask the court to prevent experts from offering

other expert testimony that the moving party claims the expert is not qualified to

offer. I will not make speculative or advisory rulings. I decline to exclude testimony



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where the party seeking exclusion does not provide specific content or context.

       V.    Remaining Issues

       I FIND that the remaining issues contained in the plaintiffs’ Motion are better

suited for cross-examination. Accordingly, except as otherwise stated in this

Memorandum Opinion & Order, the plaintiffs’ Motion is DENIED in all other

respects.

       VI.   Conclusion

       The court DENIES in part, GRANTS in part and RESERVES in part the

Motion to Exclude the General Opinion and Testimony of Larry T. Sirls, II, M.D. [ECF

No. 2479].

       The court DIRECTS the Clerk to file a copy of this Memorandum Opinion and

Order in 2:12-md-2327 and in the Ethicon Wave 2 cases identified in the Exhibit

attached hereto.



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         Hart, Mary Ann & William J.                 2:12cv01326
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         Almendarez, Angela M.                       2:12cv01329
         Hines, Lynn & Gregory                       2:12cv01331
         Rose, Lola                                  2:12cv01336
         Vandergriff, Debbie & Carl                  2:12cv01342
         Eaton, Cynthia & Frank                      2:12cv01348
         Aldrich, Jacqueline Marie & Darryl          2:12cv01364
         Higgins, Susan & Bob                        2:12cv01365
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         Watson, Sandra Rosalie & Earl L.            2:12cv01426
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         Mickle, Karen                               2:12cv01432
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         Blackston, Ossie & John                     2:12cv01493
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         Schomer, Margaret A.                        2:12cv01497
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         Raney, Barbara A. & Marcus                  2:12cv01507
         Espinoza, Rhondi                            2:12cv01517
         Majors, Jennifer A. & Jonathan S.           2:12cv01523
         Flanigan, Iris & Earl David                 2:12cv01524
         Gologan, Didina & Alexandru                 2:12cv01528
         Burton, Kimberly Lee & Christopher Carl     2:12cv01529

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         Crews, Lillie Harriet & Wain E.          2:12cv01549
         Spitzner, Bobbie Dianne & James W.       2:12cv01552
         Sanders, Melissa & Charles, Jr.          2:12cv01562
         Amidei, Betty                            2:12cv01563
         Childress, Sandra & Timothy              2:12cv01564
         Cottrell, Teresa & Joe Palazzolo         2:12cv01565
         Harper, Kathy                            2:12cv01567
         Wilson, Marcia & Robert                  2:12cv01568
         Rasos, Katherine                         2:12cv01599
         Walkingstick, Margaret Christine         2:12cv01616
         Smythia, Rebecca                         2:12cv01622
         Smith, Andora                            2:12cv01623
         Lindberg, Patricia & Carl                2:12cv01637
         Perez, Leezel & Jeffrey                  2:12cv01640
         Cole, Phyllis Smith & Willie Ray         2:12cv01645
         Guffey, Gail                             2:12cv01650
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         Moore, Phyllis                           2:12cv01659
         Cooper, Jennifer & Dave                  2:12cv01660
         Carter, Tamara & David                   2:12cv01661
         Smallwood, Nancy & Leon, Sr.             2:12cv01662
         Glenn, Rhonda & Era Fox, III             2:12cv01663
         Allen, Diana & Timothy                   2:12cv01676
         Fleck, Jean E.                           2:12cv01681
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         Mooney, Konnie L. & James                2:12cv01695
         Miller, Mona                             2:12cv01696
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         Muir, Marilyn & Scott                    2:12cv01706
         Shelton, Mary & Frank                    2:12cv01707
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         Swanson, Karen & Thomas                  2:12cv01709
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         Frazier, Margaret & William Allen              2:12cv01731
         Raines, Myra & Kenneth                         2:12cv01735
         Rhodes, Rebecca & Scott                        2:12cv01736
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         Williamson, Betty & Donald                     2:12cv01739
         Gibson, Susan & Michael                        2:12cv01740
         Savage, Stacey D. & Ebbie E. Ferrell           2:12cv01743
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         Cutter, Jenesta & Larry A.                     2:12cv01790
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         Parton, Lori Anne Copeland, Executrix of
         the Estate of Sue Bilbrey Copeland,
         deceased                                       2:12cv01848
         Peterson, Winnie Elise                         2:12cv01849
         Jernigan, Joan E. & Fred T.                    2:12cv01850
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         Reed, Deborah F. & Dale K.                 2:12cv02059
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         Maxwell, Bonnie                              2:12cv02138
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         Panske‐Phillips, Emma & Luther Y., Jr.       2:12cv02142
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         Semere, Yvonne                               2:12cv02160
         Hreiz, Amy Elizabeth & Adel Elias            2:12cv02165
         Villarreal, Katherine & Carlos               2:12cv02167
         Ogletree, Linda J. & John A.                 2:12cv02168
         Partin, Patricia Graham                      2:12cv02179
         Pageau, Tina Marie                           2:12cv02180
         Lambert, Corrie Ann & Ronson                 2:12cv02183
         Martin, Patricia J. & Dennis R., Sr.         2:12cv02185
         Miller, Rose M.                              2:12cv02187
         Pieper, Laura & Mike                         2:12cv02189
         Pridmore, Hope Elaine & James O.             2:12cv02190


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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                             CHARLESTON DIVISION

IN RE:      ETHICON, INC.
            PELVIC REPAIR SYSTEMS
            PRODUCT LIABILITY LITIGATION                        MDL No. 2327
______________________________________________________________________________

THIS DOCUMENT RELATES TO:

Cases Identified in the Exhibit
Attached Hereto

                      MEMORANDUM OPINION AND ORDER
                     (Daubert Motion re: Shelby Thames, Ph.D.)


      Pending before the court is the Motion to Exclude the Opinions and Testimony

of Shelby Thames [ECF No. 2039] filed by the plaintiffs. The Motion is now ripe for

consideration because briefing is complete.

      I.     Background

      This case resides in one of seven MDLs assigned to me by the Judicial Panel

on Multidistrict Litigation concerning the use of transvaginal surgical mesh to treat

pelvic organ prolapse (“POP”) and stress urinary incontinence (“SUI”). In the seven

MDLs, there are more than 75,000 cases currently pending, approximately 30,000 of

which are in this MDL, which involves defendants Johnson & Johnson and Ethicon,

Inc. (collectively “Ethicon”), among others.

      In this MDL, the court’s tasks include “resolv[ing] pretrial issues in a timely

and expeditious manner” and “resolv[ing] important evidentiary disputes.” Barbara

J. Rothstein & Catherine R. Borden, Fed. Judicial Ctr., Managing Multidistrict
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Litigation in Products Liability Cases 3 (2011). To handle motions to exclude or to

limit expert testimony pursuant to Daubert v. Merrell Dow Pharmaceuticals, Inc.,

509 U.S. 579 (1993), the court developed a specific procedure. In Pretrial Order

(“PTO”) No. 217, the court instructed the parties to file only one Daubert motion per

challenged expert, to file each motion in the main MDL—as opposed to the individual

member cases—and to identify which cases would be affected by the motion. PTO No.

217, at 4.1

       II.     Preliminary Matters

       Before plunging into the heart of the Motion, a few preliminary matters need

to be addressed.

       I am compelled to comment on the parties’ misuse of my previous Daubert

rulings on several of the experts offered in this case. See generally Sanchez v. Bos.

Sci. Corp., No. 2:12-cv-05762, 2014 WL 4851989 (S.D. W. Va. Sept. 29, 2014); Tyree

v. Bos. Sci. Corp., 54 F. Supp. 3d 501 (S.D. W. Va. 2014); Eghnayem v. Bos. Sci. Corp.,

57 F. Supp. 3d 658 (S.D. W. Va. 2014). The parties have, for the most part, structured

their Daubert arguments as a response to these prior rulings, rather than an

autonomous challenge to or defense of expert testimony based on its reliability and

relevance. In other words, the parties have comparatively examined expert testimony

and have largely overlooked Daubert’s core considerations for assessing expert

testimony. Although I recognize the tendency of my prior evidentiary determinations


1 The plaintiffs identified the Wave 1 cases affected by this Motion in their attached Exhibit A [ECF

No. 2039-1], which the court has attached to this Memorandum Opinion and Order. At the time of
transfer or remand, the parties will be required to designate relevant pleadings from MDL 2327,
including the motion, supporting memorandum, response, reply, and exhibits referenced herein.

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to influence subsequent motions practice, counsels’ expectations that I align with

these previous rulings when faced with a different record are misplaced, especially

when an expert has issued new reports and given additional deposition testimony.

      Mindful of my role as gatekeeper for the admission of expert testimony, as well

as my duty to “respect[ ] the individuality” of each MDL case, see In re

Phenylpropanolamine Prods. Liab. Litig., 460 F.3d 1217, 1231 (9th Cir. 2006), I refuse

to credit Daubert arguments that simply react to the court’s rulings in Sanchez and

its progeny. Indeed, I feel bound by these earlier cases only to the extent that the

expert testimony and Daubert objections presented to the court then are identical to

those presented now. Otherwise, I assess the parties’ Daubert arguments anew. That

is, in light of the particular expert testimony and objections currently before me, I

assess “whether the reasoning or methodology underlying the testimony is

scientifically valid” and “whether that reasoning or methodology properly can be

applied to the facts in issue.” Daubert, 509 U.S. at 592–93. Any departure from

Sanchez, Eghnayem, or Tyree does not constitute a “reversal” of these decisions and

is instead the expected result of the parties’ submission of updated expert reports and

new objections to the expert testimony contained therein.

      Finally, I have attempted to resolve all possible disputes before transfer or

remand, including those related to the admissibility of expert testimony pursuant to

Daubert. Nevertheless, in some instances I face Daubert challenges where my

interest in accuracy counsels reserving ruling until the reliability of the expert

testimony may be evaluated at trial. At trial, the expert testimony will be tested by



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precise questions asked and answered. The alternative of live Daubert hearings is

impossible before transfer or remand because of the numerosity of such motions in

these seven related MDLs. As these MDLs have grown and the expert testimony has

multiplied, I have become convinced that the critical gatekeeping function permitting

or denying expert testimony on decisive issues in these cases is best made with a live

expert on the witness stand subject to vigorous examination.

      In the course of examining a multitude of these very similar cases involving

the same fields of expertise, I have faced irreconcilably divergent expert testimony

offered by witnesses with impeccable credentials, suggesting, to me, an unreasonable

risk of unreliability. The danger—and to my jaded eye, the near certainty—of the

admission of “junk science” looms large in this mass litigation.

      The parties regularly present out-of-context statements, after-the-fact

rationalizations of expert testimony, and incomplete deposition transcripts. This,

combined with the above-described practice of recycling expert testimony, objections,

and the court’s prior rulings, creates the perfect storm of obfuscation. Where further

clarity is necessary, I believe it can only be achieved through live witness testimony—

not briefing—I will therefore reserve ruling until expert testimony can be evaluated

firsthand.

      III.   Legal Standard

      By now, the parties should be intimately familiar with Rule 702 of the Federal

Rules of Evidence and Daubert, so the court will not linger for long on these

standards.



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      Expert testimony is admissible if the expert is qualified and if his or her expert

testimony is reliable and relevant. Fed. R. Evid. 702; see also Daubert, 509 U.S. at

597. An expert may be qualified to offer expert testimony based on his or her

“knowledge, skill, experience, training, or education.” Fed. R. Evid. 702. Reliability

may turn on the consideration of several factors:

             (1) whether a theory or technique can be or has been tested;
             (2) whether it has been subjected to peer review and
             publication; (3) whether a technique has a high known or
             potential rate of error and whether there are standards
             controlling its operation; and (4) whether the theory or
             technique enjoys general acceptance within a relevant
             scientific community.

Cooper v. Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001) (citing Daubert,

509 U.S. at 592–94). But these factors are neither necessary to nor determinative of

reliability in all cases; the inquiry is flexible and puts “principles and methodology”

above conclusions and outcomes. Daubert, 509 U.S. at 595; see also Kumho Tire Co.

v. Carmichael, 525 U.S. 137, 141, 150 (1999). Finally, and simply, relevance turns on

whether the expert testimony relates to any issues in the case. See, e.g., Daubert, 509

U.S. at 591–92 (discussing relevance and helpfulness).

      At bottom, the court has broad discretion to determine whether expert

testimony should be admitted or excluded. Cooper, 259 F.3d at 200.

      IV.    Discussion

      Dr. Thames is a polymer chemist with a Ph.D. in organic chemistry. In 1969,

Dr. Thames founded the Department of Polymer Science at the University of

Southern Mississippi, and he has served as the Dean of the College of Science. Dr.



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Thames’s has researched and designed polymers for various uses.

          a. Properties

      First, the plaintiffs challenge multiple statements made in Dr. Thames’s

expert report that are related to degradation and the support—or lack thereof—found

in Ethicon’s seven-year dog study. The plaintiffs argue that this testimony is

unreliable because Dr. Thames contradicts himself and misstates the study’s

findings. I do not find any of Dr. Thames’s supposed self-contradictions to warrant

exclusion. Nor is Dr. Thames’s testimony unreliably contradictory to the extent it

uses the dog study to support his opinion that Prolene “does not undergo meaningful

or harmful degradation in vivo.” Thames Report 6 [ECF No. 2039-3]. I do agree,

however, with the plaintiffs’ argument that Dr. Thames has occasionally misstated

the dog study’s specific findings as to molecular weight. Specifically, although the

study reported no significant difference in molecular weights, Dr. Thames reports the

study as finding no molecular weight change. See, e.g., Thames Report 9. Insofar as

Dr. Thames’s testimony mischaracterizes the dog study’s results on molecular weight

change, it is EXCLUDED and the plaintiffs’ Motion on this point is GRANTED.

      Second, the plaintiffs challenge the reliability of Dr. Thames’s opinion that the

data collected from the seven-year dog study “validates toughness improvement after

initial implantation.” Mem. 5 [ECF No. 2042] (citing Thames Report 9). The plaintiffs

disagree with the manner in which Dr. Thames has defined and measured

“toughness.” But the plaintiffs provide no support for their differing conception of the

term or how it is most appropriately measured. Additionally, a review of Dr. Thames’s



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expert report and Ethicon’s Response shows that he used a systematic method to plot

data collected in the dog study on strength and elongation that could reasonably be

said to relate to toughness. Accordingly, the plaintiffs’ Motion on this matter is

DENIED.

      Third, the plaintiffs challenge Dr. Thames’s opinions on translucent flakes

detected on Prolene explants and the presence of extrusion lines. These opinions,

however, are apparently contained in Dr. Thames’s case-specific expert report

regarding a particular Wave 1 plaintiff. As such, these objections are not

appropriately addressed in the instant Daubert motion, which was filed in the main

MDL and should challenge general causation opinions only. The plaintiffs’ Motion on

this matter is DENIED. Further, the plaintiffs’ Motion, insofar as it relates to the

cleaning protocol employed by Dr. Thames in his plaintiff-specific examination of

mesh, is similarly DENIED.

      V.      Recurring Issues

      Many of the Daubert motions filed in this MDL raise the same or similar

objections.

      One particular issue has been a staple in this litigation, so I find it best to

discuss it in connection with every expert. A number of the Daubert motions seek to

exclude FDA testimony and other regulatory or industry standards testimony. To the

extent this Motion raises these issues it is GRANTED in part and RESERVED in

part as described below.

      I have repeatedly excluded evidence regarding the FDA’s section 510(k)



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clearance process in these MDLs, and will continue to do so in these case, a position

that has been affirmed by the Fourth Circuit. In re C. R. Bard, Inc., 81 F.3d 913,

921–23 (4th Cir. 2016) (upholding the determination that the probative value of

evidence related to section 510(k) was substantially outweighed by its possible

prejudicial impact under Rule 403). Because the section 510(k) clearance process does

not speak directly to safety and efficacy, it is of negligible probative value. See In re

C. R. Bard, 81 F.3d at 920 (“[T]he clear weight of persuasive and controlling authority

favors a finding that the 510(k) procedure is of little or no evidentiary value.”).

Delving into complex and lengthy testimony about regulatory compliance could

inflate the perceived importance of compliance and lead jurors “to erroneously

conclude that regulatory compliance proved safety.” Id. at 922. Accordingly, expert

testimony related to the section 510(k) process, including subsequent enforcement

actions and discussion of the information Ethicon did or did not submit in its section

510(k) application, is EXCLUDED. For the same reasons, opinions about Ethicon’s

compliance with or violation of the FDA’s labeling and adverse event reporting

regulations are EXCLUDED. In addition to representing inappropriate legal

conclusions, such testimony is not helpful to the jury in determining the facts at issue

in these cases and runs the risk of misleading the jury and confusing the issues.

Insofar as this Motion challenges the FDA-related testimony discussed here, the

Motion is GRANTED.

      A number of experts also seek to opine on Ethicon’s compliance with design

control and risk management standards. Some of this testimony involves the FDA’s



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quality systems regulations, and some—likely in an attempt to sidestep my

anticipated prohibition on FDA testimony—involve foreign regulations and

international standards. I find all of this proposed testimony of dubious relevance.

Although these standards relate to how a manufacturer should structure and

document risk assessment, the standards do not appear to mandate any particular

design feature or prescribe the actual balance that must be struck in weighing a

product’s risk and utility. Nor is it clear that the European and other international

standards discussed had any bearing on the U.S. medical device industry when the

device in question was being designed.

      Nevertheless, because the nuances of products liability law vary by state, I will

refrain from issuing a blanket exclusion on design process and control standards

testimony, whether rooted in the FDA or otherwise. Each standard must be assessed

for its applicability to the safety questions at issue in this litigation, consistent with

state law. I am without sufficient information to make these findings at this time.

Accordingly, I RESERVE ruling on such matters until a hearing, where the trial

judge will have additional context to carefully evaluate the relevance and potential

prejudicial impact of specific testimony.

      Similarly, I doubt the relevance of testimony on the adequacy of Ethicon’s

clinical testing and research, physician outreach, or particular product development

procedures and assessments otherwise not encompassed by the above discussion.

Again, such matters seem to say very little about the state of the product itself (i.e.,

whether or not it was defective) when it went on the market. But because the scope



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of relevant testimony may vary according to differences in state products liability law,

I RESERVE ruling on such matters until they may be evaluated in proper context at

hearing before the trial court before or at trial.

      Additional—and more broad—matters also warrant mention. While some of

these concerns may not apply to this particular expert, these concerns are raised so

frequently that they are worth discussing here

      First, many of the motions seek to exclude state-of-mind and legal-conclusion

expert testimony. Throughout these MDLs, the court has prohibited the parties from

using experts to usurp the jury’s fact-finding function by allowing testimony of this

type, and I do the same here. E.g., In re C. R. Bard, Inc., 948 F. Supp. 2d 589, 611

(S.D. W. Va. 2013); see also, e.g., United States v. McIver, 470 F.3d 550, 562 (4th Cir.

2006) (“[O]pinion testimony that states a legal standard or draws a legal conclusion

by applying law to the facts is generally inadmissible.”); In re Rezulin Prods. Liab.

Litig., 309 F. Supp. 2d 531, 546 (S.D.N.Y. 2004) (“Inferences about the intent and

motive of parties or others lie outside the bounds of expert testimony.”). Additionally,

an expert may not offer expert testimony using “legal terms of art,” such as

“defective,” “unreasonably dangerous,” or “proximate cause.” See Perez v. Townsend

Eng’g Co., 562 F. Supp. 2d 647, 652 (M.D. Pa. 2008).

      Second, and on a related note, many of the motions seek to prohibit an expert

from parroting facts found in corporate documents and the like. I caution the parties

against introducing corporate evidence through expert witnesses. Although an expert

may testify about his review of internal corporate documents solely for the purpose



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of explaining the basis for his or her expert opinions—assuming the expert opinions

are otherwise admissible—he or she may not offer testimony that is solely a conduit

for corporate information.

      Third, many of the motions also ask the court to require an expert to offer

testimony consistent with that expert’s deposition or report or the like. The court will

not force an expert to testify one way or another. To the extent an expert offers

inconsistent testimony, the matter is more appropriately handled via cross-

examination or impeachment as appropriate and as provided by the Federal Rules of

Evidence.

      Fourth, in these Daubert motions, the parties have addressed tertiary

evidentiary matters like whether certain statements should be excluded as hearsay.

The court will not exclude an expert simply because a statement he or she discussed

may constitute hearsay. Cf. Daubert, 509 U.S. at 595. Hearsay objections are more

appropriately raised at trial.

      Finally, in some of the Daubert motions, without identifying the specific expert

testimony to be excluded, the parties ask the court to prevent experts from offering

other expert testimony that the moving party claims the expert is not qualified to

offer. I decline to make speculative or advisory rulings. I decline to exclude testimony

where the party seeking exclusion does not provide specific content or context.

      VI.    Conclusion

      The court DENIES in part, GRANTS in part, and RESERVES in part the

Motion to Exclude the Opinions and Testimony of Shelby Thames [ECF No. 2039].



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      The court DIRECTS the Clerk to file a copy of this Memorandum Opinion and

Order in 2:12-md-2327 and in the Ethicon Wave 1 cases identified in the Exhibit

attached hereto.



                                      ENTER:       September 2, 2016




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2:12 cv 00258      Carrie Smith v. Ethicon, et al.
2:12 cv 00261      Mary F. Cone v. Ethicon, et al.
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2:12 cv 00380      Terrie S. and Ralph R. Gregory v. Ethicon, et al.
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2:12 cv 00387      Maru LuEllen and Thomas Lawrence Kilday v. Ethicon, et al.
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2:12 cv 00455      Pamela Gray Wheeler and Stan Wheeler v. Ethicon, et al.
2:12 cv 00468      Amelia R. and Ernest B. Gonzales v. Ethicon, et al.
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2:12 cv 00470      Mary Jane and Daniel Olson v. Ethicon, et al.
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2:12 cv 00481      Miranda Patterson v. Ethicon, et al.
2:12 cv 00483      Carey Beth and David Cole v. Ethicon, et al.
2:12 cv 00485      Danni Laffoon v. Ethicon, et al.
2:12 cv 00486      Karen and Joel Forester v. Ethicon, et al.
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2:12 cv 00490      Shirley and William Freeman v. Ethicon, et al.
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2:12 cv 00495      Andrea Carol and Mark Thomas Chandlee v. Ethicon, et al.
2:12 cv 00496      Sonya M. and James R. Moreland v. Ethicon, et al.
2:12 cv 00497      Dina Sanders Bennett v. Ethicon, et al.
2:12 cv 00498      Myndal Johnson v. Ethicon, et al.
2:12 cv 00499      Kimberly Thomas v. Ethicon, et al.
2:12 cv 00500      Krystal and Gregory Teasley v. Ethicon, et al.
2:12 cv 00501      Jennifer and David Sikes v. Ethicon, et al.
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2:12 cv 00504      Donna T. and James W. Pilgreen v. Ethicon, et al. CLOSED
2:12 cv 00505      Mary and Kenneth Thurston v. Ethicon, et al.
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2:12 cv 00506      Martha and Stuart Newman v. Ethicon, et al. CLOSED
2:12 cv 00510      Charlene Miracle v. Ethicon, et al.
2:12 cv 00511      Nancy Williams v. Ethicon, et al.
2:12 cv 00516      Patricia Conti v. Ethicon, et al.
2:12 cv 00517      Joann Lehman v. Ethicon, et al.
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2:12 cv 00540      Nancy and Kenneth Feidler v. Ethicon, et al.
2:12 cv 00547      Brenda and James Riddell v. Ethicon, et al.
2:12 cv 00548      Rhoda Schachtman v. Ethicon, et al.
2:12 cv 00554      Sharon and Gardner Carpenter v. Ethicon, et al.
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2:12 cv 00652      Maria C. and Mark A. Stone v. Ethicon, et al.
2:12 cv 00654      Stacy and Kevin Shultis v. Ethicon, et al.
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2:12 cv 00663      Ana Ruebel v. Ethicon, et al.
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2:12 cv 00669      Teresa and Ricky J. Stout v. Ethicon, et al. CLOSED
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2:12 cv 00679      Lisa and Henry Stevens v. Ethicon, et al. CLOSED
2:12 cv 00683      Louise Grabowski v. Ethicon, et al.
2:12 cv 00736      Karen and Thomas Daniell v. Ethicon, et al.
2:12 cv 00737      Beth and Stuart Harter v. Ethicon, et al.
2:12 cv 00738      Sheri and Gary Scholl v. Ethicon, et al.
2:12 cv 00746      Margaret Kirkpatrick v. Ethicon, et al.
2:12 cv 00747      Karyn E. and Douglas E. Drake v. Ethicon, et al.
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2:12 cv 00749      Jennifer D. and Willem C.J. Van Rensburg v. Ethicon, et al.


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2:12 cv 00755      Cheryl Lankston v. Ethicon, et al.
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2:12 cv 00762      Janet D. Jones v. Ethicon, et al.
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2:12 cv 00766      Kimberly Garnto v. Ethicon, et al.CLOSED
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2:12 cv 00767      Rebecca and Charles Oehring v. Ethicon, et al. CLOSED
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2:12 cv 00768      Sandra and Christian LaBadie v. Ethicon, et al. CLOSED
2:12 cv 00769      Kimberly T. Burnham v. Ethicon, et al.
2:12 cv 00772      Harmony Minniefield v. Ethicon, et al.
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2:12 cv 00786      Swint et al v. Ethicon, Inc et al
2:12 cv 00787      Joplin v. Ethicon, Inc et al
2:12 cv 00799      Quijano v. Ethicon, Inc. et al
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2:12 cv 00806      Hill et al v. Ethicon, Inc. et al
2:12 cv 00807      Sweeney et al v. Ethicon, Inc. et al
2:12 cv 00811      Zoltowski et al v. Johnson & Johnson et al
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2:12 cv 00828      Nix et al v. Ethicon, Inc. et al CLOSED
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2:12 cv 00830      Parrilla v. Ethicon, Inc. et al CLOSED
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2:12 cv 00921      Wilson v. Ethicon, Inc et al CLOSED
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2:12 cv 00923      Atemnkeng et al v. Ethicon, Inc. et al CLOSED
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2:12 cv 01215      Karen Bollinger v. Ethicon, Inc. et al
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